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   7
   8                       UNITED STATES DISTRICT COURT
   9                     SOUTHERN DISTRICT OF CALIFORNIA
  10
  11   STRATEGIC OPERATIONS, INC.,            CASE NO. 3:17-CV-1539-JLS-
                                              WVG
  12                 Plaintiff,
                                              MEMORANDUM OF POINTS
  13         vs.                              AND AUTHORITIES BY
                                              DEFENDANTS BREA JOSEPH
  14   BREA K. JOSEPH; KASEY                  AND KBZ FX, INC. IN SUPPORT
       EROKHIN; KBZ FX; KBZ FX, INC.;         OF THEIR MOTION TO
  15   and DOES 1 through 10, inclusive,      DISMISS THE AMENDED
                                              COMPLAINT FOR FAILURE TO
  16                 Defendants.              STATE A CLAIM UNDER FED.
                                              R. CIV. P. 12(B)(6)
  17
  18                                          NO HEARING REQUESTED
  19
                                              Date:     November 15, 2018
  20                                          Time:     1:30 p.m.
                                              Judge:    Hon. Janis L. Sammartino
  21                                          Ctrm.:    4D (Schwartz)
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   1         Defendants Brea Joseph and KBZ FX, Inc. (collectively, “KBZ”) respectfully
   2   submit the following memorandum of points and authorities in support of their
   3   motion to dismiss the amended complaint filed by Strategic Operations, Inc.
   4   (“StOps”) for failure to state a claim under Fed. R. Civ. P. 12(b)(6). KBZ submits
   5   that this motion is suitable for decision without oral argument and does not request
   6   a hearing.
   7   I.    INTRODUCTION
   8         Remarkably, despite the Court’s Order (ECF No. 15) properly dismissing
   9   StOps’ patent infringement claim because KBZ’s website posting was not an “offer
  10   for sale,” StOps has accused and attached the identical website posting to its
  11   Amended Complaint, which the Court already rejected. Even a cursory comparison
  12   confirms that the KBZ website posting attached as exhibit 4 to the amended
  13   complaint is verbatim identical to the KBZ website posting attached as exhibit 2 to
  14   the original complaint, which the Court already dismissed as insufficient. Adding
  15   two additional patents to the case does not magically provide StOps with any
  16   factual basis for infringement.
  17         Likewise, none of the social media postings attached to the Amended
  18   Complaint provide any factual basis for infringement. The Instagram photographs
  19   depict the one and only product that KBZ actually makes and sells, which StOps
  20   counsel personally inspected on March 6, 2018, and which does not infringe. ECF
  21   No. 10-2 [Coddington Dec.¶ 2]. As the Instagram postings confirm, KBZ’s product
  22   does not have a blood-like fluid reservoir as required by the ‘403, ‘774 and ‘693
  23   patents, and KBZ’s product does not have any “cavity” for containing artificial
  24   internal human organs as required by the ‘403, ‘774 and ‘693 patents. No claim
  25   construction is needed to confirm this simple visual observation. StOps has
  26   attempted to back-fill the inadequacies of the KBZ product it previously accused,
  27   which the Court properly found did not constitute an offer for sale, with a different
  28   product that StOps personally inspected and that clearly does not infringe.
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   1         In short, StOps simply lacks any factual basis for infringement, and adding
   2   two more patents to the case cannot and does not cure this fatal defect. For these
   3   reasons, the patent infringement claims should be dismissed with prejudice.
   4         Moreover, StOps’ two other claims for breach of nondisclosure agreement
   5   and unfair competition should also be dismissed because they are founded on the
   6   same defective basis that fails to support its patent infringement claim. Both the
   7   unfair competition and breach of NDA claims are based on the allegation that
   8   defendants misappropriated StOps’ confidential information to “make a product
   9   that embodies the inventions claimed in the ‘403 patent.” As a preliminary matter,
  10   however, KBZ cannot possibly be liable for misappropriating StOps’ information
  11   “to make a product that embodies the inventions claimed in the ‘403 patent”
  12   because the inventions claimed in the ‘403 patent are by definition public and not
  13   confidential. Again, moreover, none of the Instagram postings depict a product
  14   having a blood-like fluid reservoir as required by the ‘403, ‘774 and ‘693 patents,
  15   and none of the Instagram postings show any “cavity” for containing artificial
  16   internal human organs as required by the ‘403, ‘774 and ‘693 patents.
  17         Accordingly, the Amended Complaint and all claims against KBZ should be
  18   dismissed in their entirety with prejudice and without further leave to amend.
  19   II.   ARGUMENT
  20         A. Legal Standards
  21         Under Fed. R. Civ. P. 12(b)(6), a complaint may be dismissed for failure to
  22   state a claim. Both direct and indirect patent infringement claims are subject to the
  23   strict pleading requirements of Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009) and Bell
  24   Atlantic Corp. v Twombly, 550 U.S. 544 (2007). Mayne Pharma Int’l. PTY Ltd. v.
  25   Merck & Co., 2015 U.S. Dist. LEXIS 162912 *4, n.1 (D. Del. Dec. 3, 2015).
  26   Under Iqbal/Twombly, pleadings “containing no more than conclusions[] are not
  27   entitled to the assumption of truth.” Intellicheck Mobilisa, Inc. v. Wizz Sys., LLC,
  28   2016 U.S. Dist. LEXIS 7290, at *9 (W.D. Wa. Jan. 21, 2016) (citing Iqbal, 129 S.
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   1   Ct. 1937 at 1950).
   2         Instead, a plaintiff “must plead sufficient factual allegations to show it is
   3   plausibly entitled to relief.” Twombly, 550 U.S. at 555-56. Unless the plaintiff has
   4   pleaded “enough facts to state a claim for relief that is plausible on its face,” and
   5   thereby “nudged its claims . . . across the line from conceivable to plausible,” the
   6   complaint “must be dismissed.” Twombly, 550 U.S. at 570. A claim has factual
   7   plausibility only “when the plaintiff pleads factual content that allows the court to
   8   draw the reasonable inference that the defendant is liable for the misconduct
   9   alleged.” Iqbal, 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 556). But “[a]
  10   pleading that offers ‘labels and conclusions’ or a ‘formulaic recitation of the
  11   elements of a cause of action will not do.’” Iqbal, 129 S. Ct. at 1949 (citing
  12   Twombly, 550 U.S. at 555).
  13         Importantly, when as here “a complaint is accompanied by attached
  14   documents, the court is not limited by the allegations contained in the complaint.
  15   These documents are part of the complaint may be considered in determining
  16   whether the plaintiff can prove any set of facts in support of the claim.” Roth v.
  17   Garcia Marquez, 942 F.2d 617, 625 n.1 (9th Cir. 1991).
  18
             B. The KBZ Website Posting Attached to the Amended Complaint is
  19            Identical to the One Previously Rejected by the Court as Insufficient.
  20         In its prior Order dismissing StOps’ patent infringement claim, the Court
  21   properly found that “the posting of [the] TTK, as depicted [in] exhibit 2 to the
  22   Complaint, is not an ‘offer for sale.’ There is no information on pricing of the
  23   product; instead the post specifically invites the consumer to send an email to
  24   request pricing information. This is merely an invitation for offers. The posting is
  25   not sufficiently alleged to be an ‘offer for sale’ . . . . Because Plaintiff has failed to
  26   sufficiently plead an element of patent infringement, the Court GRANTS
  27   Defendants’ motion to dismiss this claim.” ECF No. 15 [Order at 6].
  28         Despite the Court’s Order, StOps attached and accused of infringement the
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   1   exact same KBZ website posting in the amended complaint that the Court already
   2   rejected. Even a cursory review confirms that the KBZ website posting attached as
   3   exhibit 4 to the Amended Complaint is identical to the KBZ website posting
   4   attached as exhibit 2 to the original complaint, which the Court rejected as
   5   insufficient. Compare ECF 16 [Amended Complaint, Exh. 4 at 54-70] with ECF 1
   6   [Complaint, Exh. 2 at 27-43]. This factual basis for infringement, therefore, is
   7   defective and must be dismissed. ECF No. 15 at 6; 3D Sys., Inc. v. Aarotech Labs,
   8   Inc., 160 F.3d 1373, 1379 (Fed. Cir. 1998) (an “offer for sale” must contain “a
   9   description of the allegedly infringing merchandise and the price at which it can be
  10   purchased.”).
  11
             C. None of the Instagram Postings Attached to the Amended Complaint
  12            Provide Any Factual Basis for Patent Infringement.
  13         Likewise, none of the Instagram social media postings attached by StOps to
  14   the Amended Complaint provide any factual basis for infringement. First, Exhibit 5
  15   purports to be a collection of photographs retrieved by StOps from a third party
  16   archival service called picbear.online that were allegedly posted by KBZ months
  17   ago on Instagram. The photographs, however, depict simulated wounds on human
  18   faces and hands, not any actual product being sold or offered for sale by KBZ. ECF
  19   No. 16 at 72-73 [Exh. 5]. The single photograph that purports to be an image of a
  20   KBZ product does not depict any blood-like fluid reservoir as required by the ‘403,
  21   ‘774 and ‘693 patents, and does not show any “cavity” for containing artificial
  22   internal human organs as required by the ‘403, ‘774 and ‘693 patents. Id. [Exh. 5 at
  23   73]; ECF No. 16 at 27 [claim 1 of ‘403 patent]; Id. at 39 [claim 1 of ‘693 patent];
  24   Id. at 52 [claims 1 and 4 of ‘774 patent]. StOps’ counsel confirmed this for himself
  25   when he personally inspected the KBZ product shown in the Instagram postings on
  26   March 6, 2018. ECF No. 10-2 [Coddington Dec.¶ 2]. No claim construction is
  27   needed to confirm this simple visual observation. See Kai U.S.A., Ltd. v. Buck
  28   Knives, Inc., 2006 WL 314456, at *11 (D. Or. Feb. 9, 2006) (finding that no claim
                                                 4
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   1   construction was necessary because the language was “clear on its face”).
   2         Additionally, the Instagram postings are not “offers for sale” because they do
   3   not contain any pricing information and do not even invite consumers to contact
   4   KBZ. 3D Sys., 160 F.3d at 1379 (an “offer for sale” requires “a description of the
   5   allegedly infringing merchandise and the price at which it can be purchased.”).
   6   Exhibit 5 does not contain any pricing information and is not even an invitation for
   7   offers. Accordingly, Exhibit 5 is not an offer for sale and does not provide any
   8   factual basis for infringement against KBZ.
   9         Second, Exhibit 6 purports to be an Instagram posting by Justin Nave (not
  10   KBZ). Exhibit 6 does not show any blood-like fluid reservoir as required by the
  11   ‘403, ‘774 and ‘693 patents, and does not show any “cavity” for containing
  12   artificial internal human organs as required by the ‘403 patent, ‘774 and ‘693
  13   patents. ECF No. 16 [Exh. 6 at 75]. Again, no claim construction is needed to
  14   confirm this instant visual observation.
  15         Exhibit 7 is even less clear and appears to be a photograph posted on
  16   Instagram (not KBZ’s website) showing two unidentified people working on half of
  17   a dummy in an unspecified workroom. Id. [Exh. 7 at 77]. As with the other
  18   exhibits, Exhibit 7 does not depict any blood-like fluid reservoir and does not show
  19   any “cavity” for containing artificial internal human organs, all as required by the
  20   ‘403, ‘774 and ‘693 patents. Id. Moreover, Exhibit 7 is not an offer for sale
  21   because it does not contain any pricing information and does not even invite any
  22   consumers to contact KBZ.
  23         Exhibit 8 is even more unclear and appears to be a photograph posted on
  24   Instagram (not KBZ’s website) showing two people inside a workroom at KBZ; it
  25   does not depict any product by KBZ whatsoever. ECF No. 16 [Exh. 8 at 79].
  26   Exhibit 8 certainly does not depict any product having a blood-like fluid reservoir
  27   and does not show any “cavity” for containing artificial internal human organs, all
  28   as required by the ‘403, ‘774 and ‘693 patents. Id. Exhibit 8 is also not an offer for
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   1   sale because it does not contain any pricing information and does not even invite
   2   any consumers to contact KBZ. Id.
   3         Lastly, Exhibit 9 appears to be a photograph posted on Instagram (not KBZ’s
   4   website) showing a woman wearing a partial artificial rib cage over her clothing.
   5   Id. [Exh. 9 at 81]. Exhibit 9 does not show any product having a blood-like fluid
   6   reservoir as required by the ‘403, ‘774 and ‘693 patents, and Exhibit 9 does not
   7   show any “cavity” for containing artificial internal human organs, as required by
   8   the ‘403, ‘774 and ‘693 patents. Exhibit 9 does not even show any actual product.
   9   ECF No. 16 at 81 [Ex. 9]. Additionally, Exhibit 9 is not an offer for sale because it
  10   does not contain any pricing information and does not even invite consumers to
  11   contact KBZ. Id. No claim construction is needed to confirm these immediate
  12   observations.
  13         In short, StOps has no factual basis for patent infringement against KBZ, and
  14   StOps’ patent infringement claims must therefore be dismissed in their entirety with
  15   prejudice.
  16
             D. StOps’ Claims for Breach of Nondisclosure Agreement and Unfair
  17            Competition Are Equally Baseless.
  18         StOps’ claims for alleged breach of a nondisclosure agreement and unfair
  19   competition should also be dismissed because they are founded on the same
  20   defective basis that fails to support the infringement claims.
  21         In StOps’ breach of nondisclosure agreement claim, StOps alleges based on
  22   “information and belief that Joseph and Erokhin used StOps’ confidential and
  23   proprietary technology and trade secret information when developing the TTK.”
  24   ECF No. 16 at ¶60. These allegations are defective, however, because StOps is
  25   required to specify the factual basis for its claims; StOps may not plead such
  26   allegations based on information and belief. Vivendi SA v. T-Mobile USA Inc., 586
  27   F.3d 689, 694 (9th Cir. 2009) (allegations based on information and belief are
  28   insufficient without factual support); Solis v. City of Fresno, 2012 WL 868681, at
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   1   *8 (E.D. Cal. Mar. 13, 2012) (“In the post-Twombly and Iqbal era, pleading on
   2   information and belief, without more, is insufficient to survive a motion to dismiss
   3   for failure to state a claim.”); Simonyan v. Ally Fin. Inc., 2013 WL 45453, at *2
   4   (C.D. Cal. Jan. 3, 2013) (“factual allegations . . . based on ‘information and belief’ .
   5   . . fall well short of the requirements set forth in Iqbal”); U.S. v. Center for
   6   Diagnostic Imagining, Inc., 787 F. Supp. 2d 1213, 1221 (W.D. Wash. 2011)
   7   (holding that a “plaintiff relying on ‘information and belief’ must state the factual
   8   basis for the belief”).
   9          In its unfair competition claim, StOps alleges that “Joseph and Erokhin’s
  10   unauthorized use of StOps’ confidential and proprietary technology and trade secret
  11   information to make a product that embodies the inventions claimed in the ‘403
  12   patent” constitutes unfair competition. Id. at ¶69. StOps’ unfair competition claim
  13   is therefore premised on the same factual basis as its patent infringement claim.
  14          To start, however, KBZ by law cannot possibly be liable for unfair
  15   competition by using StOps’ confidential information “to make a product that
  16   embodies the inventions claimed in the ‘403 patent” because the inventions claimed
  17   by a patent are by definition public disclosures and are not confidential. Accent
  18   Packaging, Inc. v. Leggett & Platt, Inc., 707 F.3d 1318, 1329-30 (Fed. Cir. 2013).
  19          Moreover, as discussed above, none of the Instagram postings attached to the
  20   Amended Complaint depict any blood-like fluid reservoir, as required by the ‘403,
  21   ‘774 and ‘693 patents; and none of the Instagram postings show any “cavity” for
  22   containing artificial internal human organs, as required by the ‘403, ‘774 and ‘693
  23   patents. ECF No. 16 at 72-73 [Exh. 5]; Id. at 75 [Exh. 6]; Id. at 77 [Exh. 77]; Id. at
  24   79 [Exh. 8]; Id. at 81 [Ex. 9]. Most of the photographs do not even depict an actual
  25   product. No claim construction is needed to confirm these simple visual
  26   observations. The Court can and should therefore dismiss StOps’ claims for unfair
  27   competition and breach of nondisclosure agreement for lack of any factual basis.
  28   Collymore v. F.B.I., 1995 WL 165308, at *3 (N.D. Cal. Mar. 31, 1995) (dismissing
                                                   7
                                                                         3:17-cv-1539-JLS-WVG
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   1   claims that “clearly lack any factual basis”); Amano v. Bank of America, N.A., 2013
   2   WL 12122583, at *6-7 (D. Hawaii Aug. 20, 2013) (dismissing complaint because it
   3   lacks any factual basis).
   4
              E. StOps’ Alter Ego Allegations Must Be Dismissed Because They Lack
   5             The Required Particularity.
   6          Finally, StOps’ single-sentence alter ego allegation must also be dismissed
   7   because it lacks any particularity as required by Fed. R. Civ. P. 9(b). Even worse
   8   than in the original complaint, StOps in its amended complaint alleges in a single
   9   sentence that “on information and belief, KBZ FX, Inc. was formed as a direct
  10   result of the threat of this litigation, and is merely the alter-ego of Defendants
  11   Erokhin and Joseph.” ECF No. 16 at ¶8.
  12          This single-sentence alter ego allegation, however, lacks any details and
  13   contains no specific facts whatsoever. StOps’ alter ego allegation, therefore, must
  14   be stricken and dismissed. Square 1 Bank v. Lo, 2014 WL 4181907, at *3 (N.D.
  15   Cal. Aug. 22, 2014) (a plaintiff “must allege his alter ego theory with specificity
  16   pursuant to Rule 9(b).”); Neilson v. Union Bank of Cal., N.A., 290 F. Supp. 2d
  17   1101, 1116 (C.D. Cal. 2003) (“[c]onclusory allegations of ‘alter ego’ status are
  18   insufficient to state a claim,” rather “a plaintiff must allege the elements of alter ego
  19   liability, as well as facts supporting each.”).
  20   III.   CONCLUSION
  21          For the foregoing reasons, the Court should dismiss the amended complaint
  22   and all claims in their entirety with prejudice for failure to state a claim under Fed.
  23   R. Civ. P. 12(b)(6). Further, because StOps has already been given an opportunity
  24   to amend, leave to amend a second time should be denied. Ascon Props., Inc. v.
  25   Mobil Oil Co., 866 F.2d 1149, 1160 (9th Cir. 1989) (“discretion to deny leave to
  26   amend is particularly broad where plaintiff has had prior opportunities to amend.”).
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   1   Dated: September 26, 2018     SAN DIEGO IP LAW GROUP LLP
   2
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